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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA                         _    ~ ~e        _
UNITED STATES OF AMERICA                                         I CASE NUMBER


                                                  PLAINTIFFS) ~              1:21-CR-00184 DAD-BAM
                                  v.
CECELIA ALLEN aka "CeCe" and "Cee Cee"
                                                                                  DECLARATION RE
                                               DEFENDANT(s).                  OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by:Philip A. Talbert(Acting US Attorney)
in the Eastern                              District of California                                on 12/16/2021
at     c~ a      ~ a.m. / ❑ p.m. The offense was allegedly committed on or about 6/2ozo-12/zo2o
in violation of Title ~s / 28                        U.S.C., Sections) 1349,1o2sA(a)(1), 981(a)(1)(C)/ 2461(C)
to wit: Conspiracy to commit mail fraud, Aggravated identify theft and aiding &abetting, Criminal forfeiture


A warrant for defendant's arrest was issued by: Barbara McAuliffe, Magistrate Judge

Bond of$                                    was pset /~ recommended.

Type of Bond:

Relevant documents)on hand (attach): Indictment, arrest warrant



I declare under penalty of perjury that the foregoing is true and correct.

Executed on          2/11/22
                      Date


           ~
           /                                                         Andrew L. Harris
                                                                     Print Name of Agent
  W~~
 s•



Federal Bureau of Investigation                                      Special Agent
Agency                                                               Title




CR-52 (03/20)                              DECLARATION RE OUT-OF-DISTRICT WARRANT
